Case 6:15-cv-02148-GAP-TBS Document 34 Filed 11/29/16 Page 1 of 1 PageID 176




                             UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

   ARLA TWEEDY,

                           Plaintiff,

   v.                                                      Case No: 6:15-cv-2148-Orl-31TBS

   DISCOVERY MARKETING &
   DISTRIBUTING, INC.,

                           Defendant.


                                        ORDER OF DISMISSAL
           Upon consideration of the Stipulation of Dismissal (Doc. 33), and pursuant to Fed.

   R. Civ. P. 41(a), it is hereby

           ORDERED that this case is dismissed, each party to bear its own fees and costs. The

   dismissal of this case is with prejudice as to Plaintiff’s individual claims against Defendant,

   and without prejudice as to all putative, unidentified class members, if any. Any pending

   motions are DENIED as moot. The Clerk is directed to close this file.

           DONE and ORDERED in Chambers in Orlando, Florida on November 29, 2016.




                                                                                                      

   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
